Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 1 of 8




              EXHIBIT 1
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 2 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 3 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 4 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 5 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 6 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 7 of 8
Case 4:21-cv-10572-TSH Document 1-1 Filed 04/05/21 Page 8 of 8
